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12   JOSH GOSSETT and JAMES LAPLANT
13
                                UNITED STATES DISTRICT COURT
14
                               CENTRAL DISTRICT OF CALIFORNIA
15
     JOSH GOSSETT and JAMES LAPLANT,                       Case No.:
16   each individually, and on behalf of all
17   others similarly situated,
                                                           CLASS ACTION COMPLAINT FOR
18               Plaintiffs,                               DAMAGES
19
            v.
20
                                                           [DEMAND FOR JURY TRIAL]
21   ROBINHOOD FINANCIAL, LLC, a
     Delaware limited liability company;
22   ROBINHOOD SECURITIES, LLC, a
23
     Delaware limited liability company;
     ROBINHOOD MARKETS, INC., a
24   Delaware Corporation; and DOES 1-100,
     inclusive,
25
26                Defendants.
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 1         Plaintiffs JOSH GOSSETT and JAMES LEPLANT (“Plaintiffs”) bring this
 2   class action complaint against Defendants, ROBINHOOD FINANCIAL, LLC, a
 3   Delaware limited liability company; ROBINHOOD SECURITIES, LLC, a Delaware
 4   limited liability company; ROBINHOOD MARKETS, INC., a Delaware Corporation
 5   (collectively referred to herein as “Defendants” or “Robinhood”); and DOES 1-100,
 6   inclusive, based on the following allegations:
 7                                 NATURE OF THE ACTION
 8         1.      Robinhood, famous as the champion of the small retail investor, is a
 9   multi-billion-dollar online brokerage which prides and markets itself on
10   “democratizing finance for all.” In a March 23, 2016 tweet, the company asserted
11   what one would expect from the self-professed “Robin Hood” of retail trading: “Let
12   the people trade.” Robinhood’s raison d’etre was to bring the advantages of market
13   participation to millions of average, non-institutional investors. As a broker,
14   Robinhood owed its clients fiduciary duties. These included the duty of loyalty, good
15   faith, to act reasonably and to avoid choosing competing interests over that of its
16   clients. That is what Robinhood’s clients expected and that is what they deserved. To
17   be treated with the same good faith as institutional market players. Robinhood
18   provided the platform. The clients would pick the market’s winners and losers.
19   However, on or about January 27, 2021, Robinhood switched sides.
20         2.      Indeed, the Company plunged into infamy when it deliberately, willfully
21   and knowingly breached its duties to its own clients in favor of its own interest and
22   the interest of others. Acting against a large and defenseless portion of its customers,
23   Robinhood wantonly brought the ability of millions of its clients to freely trade
24   various securities on its platform to a screeching and unceremonious halt. Upon
25   information and belief, Robinhood’s actions immediately erased hundreds of millions
26   of dollars in client gains (and potential gains) and prevented clients from mitigating
27   significant losses. Robinhood acted contrary to the interests of its clients and anointed
28   itself as the overlord of the free market, opting to damage its clients in favor of its

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 1   own financial interests and the interests of other market participants, many of whom
 2   had interests directly adverse to Robinhood’s clients.
 3         3.      Indeed, Robinhood deliberately, willfully and knowingly disabled the
 4   “buy” function for any of its users who attempted to trade the following securities:
 5   Gamestop (“GME”), AMC Entertainment Holdings, Inc (“AMC”) and BlackBerry
 6   Ltd (“BB”), among other stocks. Collectively, GME, AMC, BB shall be referred to
 7   as, the “Securities.” Such action is completely diametrical to Robinhood’s advertised
 8   selling point of “democratizing finance” for all. The effect of Robinhood’s actions
 9   were intentionally designed to benefit, and actually benefitted, large, corporate
10   financial interests that bet against, or shorted, the Securities. The presumptive
11   constituents of Robinhood’s “democracy,” the Company’s alleged “target market” of
12   average “Jack and Jill” traders, were sacrificed in favor of large institutions and
13   market players, and Robinhood’s own’s self-interest.
14         4.      A significant number of retail investors who relied on Robinhood to be
15   their champion, and who chose Robinhood’s platform to invest their money, were
16   told that “ongoing volatility” was the reason for the sudden suspension of certain
17   basic and crucial account trading functions.
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                                     CLASS ACTION COMPLAINT
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 1         5.      Robinhood’s CEO, Vladimir Tenev, rushed to hold a damage control
 2   interview on CNBC, during which he averred that Robinhood’s sudden trading
 3   restrictions were “pre-emptive.” What exactly Robinhood was attempting to “pre-
 4   empt” is yet to be determined and was not explained by Mr. Tenev, but what is clear
 5   is the massive amounts of damage incurred by Robinhood customers who were left in
 6   the dark about why their ability to trade in their chosen investments had been “pre-
 7   emptively” suspended without warning.
 8                                            PARTIES
 9         6.      At all times herein mentioned, Plaintiff JOSH GOSSETT was and is an
10   individual residing in Los Angeles, California.
11         7.      At all times herein mentioned, Plaintiff JAMES LAPLANT was and is
12   an individual residing in San Francisco, California.
13         8.      Plaintiffs are informed and believe, and based thereon allege, that
14   Defendant ROBINHOOD FINANCIAL, LLC, is, and at all times herein mentioned
15   was, a Delaware limited liability company, with its principal place of business located
16   at 85 Willow Road, Menlo Park, California 94025.
17         9.      Plaintiffs are informed and believe, and based thereon allege, that
18   Defendant ROBINHOOD SECURITIES, LLC, is, and at all times herein mentioned
19   was, a Delaware limited liability company, with its principal place of business located
20   at 500 Colonial Center Parkway, Suite 100, Lake Mary, Florida 32746.
21         10.     Plaintiffs are informed and believe, and based thereon allege, that
22   Defendant ROBINHOOD MARKETS, INC., is, and at all times herein mentioned
23   was, a Delaware corporation, with its principal place of business located at 85 Willow
24   Road, Menlo Park, California 94025.
25         11.     Defendants Does 1 through 100, inclusive, are sued herein under
26   fictitious names. Their true names and capacities are unknown to Plaintiffs. When
27   their true names and capacities are ascertained, Plaintiffs will amend this complaint
28   by inserting their true names and capacities herein. Plaintiffs are informed and

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 1   believe, and based thereon allege, that each of the fictitiously named defendants is the
 2   agent, servant, employee, representative, partner, and/or joint venturer of their co-
 3   defendants, and so ratifies all of their acts and conduct. Therefore, each Doe
 4   Defendant is responsible in some manner for the occurrences herein alleged, and
 5   Plaintiffs’ damages as herein alleged were proximately caused by said Defendants.
 6          12.    At all relevant times, each Defendant was the agent of the other
 7   Defendants and was at all times acting within the purpose and scope of such agency.
 8   Moreover, in committing the acts and omissions asserted herein, Defendants, and
 9   each of them, were acting in concert together, in the course and scope of their
10   respective    relationship    with    each    other,   whether     as   employees,      agents,
11   representatives, independent contractors, providers, service providers, as agents or
12   representatives of each other, respectively, or as joint venturers, co-conspirators or
13   otherwise.
14                                        JURISDICTION
15          13.    This Court has subject-matter jurisdiction over this action pursuant to 28
16   U.S.C. § 1332(d)(2). The aggregate claims of all members of the proposed Class and
17   are in excess of $5,000,000, exclusive of interest and costs, and there are more than
18   one hundred (100) putative class members. Further, several members of the putative
19   class are citizens of a state different from Defendants.
20                                              VENUE
21          14.    Venue is proper pursuant to 28 U.S.C. §1391(b) because, on information
22   and belief, a substantial part of the events or omissions giving rise to the claims
23   occurred in this judicial district, and Plaintiffs’ cause of action arose in this district.
24                             CLASS ACTION ALLEGATIONS
25          15.    Plaintiffs bring claims pursuant to Federal Rule of Civil Procedure 23 on
26   behalf of the Class, including, or in the alternative, all subclasses, as follows:
27                (a) All Robinhood customers within the United States who,
28                    due to Robinhood’s willful, knowing and purposeful

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 1                     disabling of any part of the functionality of their accounts,
 2                     were unable to execute trades on AMC.
 3               (b) All Robinhood customers within the California who, due
 4                   to Robinhood’s willful, knowing and purposeful disabling
                     of any part of the functionality of their accounts, were
 5
                     unable to execute trades on GME.
 6
 7               (c) All Robinhood customers within the United States who,
 8                   due to Robinhood’s willful, knowing and purposeful
                     disabling of any part of the functionality of their accounts,
 9                   were unable to execute trades on BB.
10
           16.     Explicitly excluded from the Class are: (i) Robinhood entities and their
11
     current officers, agents and employees; (ii) counsel for either party; and (iii) the Court
12
     and its personnel presiding over this action.
13
           17.     Numerosity/Impracticability of Joinder: The precise number of
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     members of the proposed Class is unknown to Plaintiffs at this time. However,
15
     Plaintiffs are informed and believe, and based thereon allege, that the members of the
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     Class are so numerous that joinder of all members would be impractical and
17
     unfeasible. Plaintiffs are informed and believe, and based thereon allege, that there
18
     are hundreds of thousands of persons (if not more) within the Class. All members
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     may be notified of the pendency of this action by reference to Defendants’ records, or
20
     via alternative means.
21
           18.     Commonality and Predominance: There are questions of law and fact
22
     that are common to the claims of Plaintiffs and members of the proposed Class. These
23
     common questions of law and fact exist as to all Class members and predominate any
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     questions affecting only individual members. Common questions of law and fact,
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     include, but are not limited to, the following:
26
       (a) Whether Defendants breached their agreement with Named Plaintiffs and
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            the Class to permit trading of the Securities on the Defendants’ platform;
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 1     (b) Whether Defendants’ conduct unfairly divested Named Plaintiffs and the
 2          Class of the benefit of their agreement with the Defendants;
 3     (c) Whether Defendants breached their duty to Named Plaintiffs and the Class
 4          to diligently execute or permit reasonable trading requests;
 5     (d) Whether Defendants failed to meet their duty of care when they wantonly,
 6          and without justification or notice, disabled certain trading privileges of
 7          the Named Plaintiffs and the Class;
 8     (e) Whether Defendants intentionally, and without justification or notice,
 9          restricted certain abilities of Named Plaintiffs and the Class to freely
10          participate in the trading of the Securities, thereby causing Named
11          Plaintiffs and the Class to suffer damages;
12     (f) Whether Defendants violated Financial Industry Regulator Authority
13          Rule, 5310;
14     (g) Whether Defendants breached their fiduciary duties to Named Plaintiffs
15          and the Class;
16     (h) Whether Defendants engaged in unlawful business practices in violation
17          of Cal. Bus. & Prof. Code § 17200;
18     (i) foregoing;
19     (j) Whether Named Plaintiffs and the Class were injured as a result of
20          Defendants’ conduct.
21        19.      Typicality: Plaintiffs’ claims are typical of the claims of the members of
22   the proposed Class. All members of the proposed Class have been injured by
23   Defendants’ unlawful conduct. Plaintiffs’ claims arise from the same practices and
24   course of conduct giving rise to the claims of the members of the proposed Class.
25   Plaintiffs will fairly and adequately represent the interest of the proposed Class
26   because Plaintiffs are members of the proposed Class and do not have an interest
27   that is contrary to or in conflict with those members. There is a well-defined
28   community of interest in the questions of law and fact affecting the class of persons

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 1   that Plaintiffs represent as a whole. Plaintiffs were unable to trade the Securities as a
 2   result of Defendants’ unlawful conduct and sustained damages as a result.
 3        20.      Superiority: A class action is superior to any other form of action for
 4   the fair and efficient adjudication of this lawsuit. Individual consumers such as
 5   Plaintiffs have a difficult time prosecuting an individual action against large
 6   corporations like Defendants. Even if any class member could afford individual
 7   litigation against Defendants, it would be unduly burdensome to the court system.
 8   Individual litigation of such numerous claims magnifies the delay and expense to all
 9   parties and the court system. By contrast, a class action presents far fewer
10   management obstacles and affords the benefits of unitary adjudication, economies of
11   scale, and comprehensive supervision by a single court. A class action will promote
12   judicial economy and parity among the claims of the individual class members, as
13   well as judicial consistency. Notice of the pendency and any resolution of this action
14   can be efficiently provided to class members by mail, print, broadcast, internet,
15   and/or multimedia publication. Requiring each class member to both establish
16   individual liability and pursue an individual remedy would discourage the assertion
17   of lawful claims by customers who would be disinclined to pursue an action against
18   a corporate defendant like Robinhood. Proof of a common business practice or
19   factual pattern, of which the Plaintiffs experienced, is representative of the proposed
20   Class and will establish the right of each of the members of the proposed Class to
21   relief on the claims alleged herein.
22
23        21.      Prosecution of separate actions by individual members of the proposed
24   Class would create a substantial risk of inconsistent or varying adjudications, which
25   may produce incompatible standards of conduct for Defendants. Prosecution of
26   separate actions by individual members of the proposed Class would create a risk of
27   adjudications with respect to individual members which may, as a practical matter,
28   be dispositive of the interest of other members not parties to the adjudication or

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 1   substantially impair or impede their ability to protect their interest. Further, the
 2   individual claims are not sufficiently large to warrant vigorous individual
 3   prosecution given the concomitant costs and expenses attending thereto. This class
 4   action presents no material difficulties in management.
 5        22.      Adequacy of Representation: Plaintiffs are representatives who will
 6   fully and adequately assert and protect the interest of the Class and have retained
 7   competent counsel who are experienced and qualified in prosecuting class actions.
 8   Neither Plaintiffs nor their attorneys have any interests contrary to or in conflict with
 9   the Class.
10        23.      Plaintiffs request permission to amend the complaint to include other
11   individuals as class representatives in the event any named Plaintiff is deemed an
12   inadequate representative of the Class. Plaintiffs further request permission to amend
13   the Complaint to revise the Class definition as appropriate following discovery.
14                                 GENERAL ALLEGATIONS
15         24.     Robinhood is a multi-billion-dollar online brokerage firm offering
16   services to the general public via its mobile application and website.
17         Allegations Relating to Plaintiff James LaPlant
18         25.     On the morning of January 28, 2021, Mr. LaPlant, a Robinhood client,
19   attempted to purchase stock in GME, AMC, and BB through the Robinhood app.
20   However, Mr. LaPlant, though no fault of his own, was prohibited from doing so by
21   Defendants. LaPlant already owned existing shares in the Securities.
22         26.     Each time Mr. LaPlant attempted to purchase the above-referenced
23   stocks, he received a notification from Robinhood stating, “You can close out your
24   position in this stock, but you cannot purchase additional shares.” Mr. LaPlant, who
25   was not given any notice or warning, was effectively divested of certain critical
26   trading functions typically available on his Robinhood trading account.
27         27.     Thus, Mr. LaPlant, lost out on earning opportunities in GME, AMC, and
28   BB, was damaged in the Securities that he held and/or prevented from mitigating

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                                     CLASS ACTION COMPLAINT
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 1    losses in the Securities.
 2          Allegations Relating to Plaintiff Josh Gossett
 3          28.     On the morning of January 28, 2021, Mr. Gossett opened his Robinhood
 4    app to place an order for GME and AMC, two stocks in which he already owned
 5    shares. However, Mr. Gossett found that the app prevented him from purchasing
 6    additional stock in these companies. Mr. Gossett, like Mr. LaPlant, received a
 7    notification that he could only “close [his] position in this stock[.]”
 8          29.     Thus, Mr. Gossett was divested of the ability to trade on the AMC and
 9    GME, and lost out on earning opportunities in GME and AMC. Thus, Mr. Gossett,
10    lost out on earning opportunities in GME, AMC, was damaged in the positions he
11    held and/or was prevented from mitigating losses in the said positions.
12                                  FIRST CAUSE OF ACTION
13                            BREACH OF IMPLIED COVENANT OF
                                GOOD FAITH AND FAIR DEALING
14                            (Against All Defendants; and DOES 1-100)
15
            30.     Plaintiffs hereby incorporate by reference Paragraphs 1 through 29 of
16
      this Complaint as though fully set forth herein and for a cause of action alleges as
17
      follows:
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            31.     Plaintiffs and Defendants entered into a contract pursuant to which
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      Defendants agreed to provide brokerage services (the “Agreement”).
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            32.     Every contract imposes upon each party a duty of good faith and fair
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      dealing in the performance of the contract such that neither party shall do anything
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      which will have the effect of destroying or injuring the right of the other party to
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      receive the fruits of the contract.
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            33.     Defendants materially breached the covenant of good faith and fair
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      dealing implied in the Agreement as a matter of law by, among other things, failing to
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      provide notice that certain critical account functions of Plaintiffs would be suspended,
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      actually and in fact suspending such account functions, and knowingly undertaking
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 1    certain acts that undermined Plaintiffs’ rights under the Agreement and their interests
 2    in the Securities.
 3             34.   Plaintiffs expected that Defendants would use their best efforts to take
 4    actions in support of and to fulfill the terms of the Agreement. The actions of
 5    Defendants as hereinbefore described, are in violation of the implied covenant of
 6    good faith and fair dealing and have caused Plaintiffs to suffer damages in an amount
 7    to be determined at trial.
 8             35.   As a direct and proximate result of the foregoing breach, Plaintiffs have
 9    been materially prejudiced and has sustained damages in an amount to be proven at
10    trial.
11                                 SECOND CAUSE OF ACTION
12                                          NEGLIGENCE
                              (Against All Defendants; and DOES 1-100)
13
               36.   Plaintiffs hereby incorporate by reference Paragraphs 1 through 35 of
14
      this Complaint as though fully set forth herein and for a cause of action alleges as
15
      follows:
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               37.   Defendants had a duty to exercise reasonable care in conducting and
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      facilitating transactions on behalf of its clients. Defendants had a duty to exercise
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      reasonable care to facilitate, or otherwise permit, Plaintiffs to trade freely from their
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      Robinhood accounts. Defendants had a duty to exercise reasonable care to refrain
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      from taking steps which caused injury to the Plaintiffs in their trading activities and
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      market positions.
22
               38.   Defendants breached their duties to exercise reasonable care as described
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      hereinabove.
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               39.   Plaintiffs were harmed as a result.
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               40.   As result and proximate cause of Defendants’ negligence Plaintiffs
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      suffered damages.
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                                      CLASS ACTION COMPLAINT
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 1                                  THIRD CAUSE OF ACTION
 2                                BREACH OF FIDUCIARY DUTY
                              (Against All Defendants; and DOES 1-100)
 3          41.     Plaintiffs hereby incorporate by reference Paragraphs 1 through 40 of
 4    this Complaint as though fully set forth herein and for a cause of action alleges as
 5    follows:
 6          42.     Plaintiffs allege that at all times herein mentioned, Defendants owed
 7    fiduciary duties including, without limitation, the duties of loyalty, care, good faith, to
 8    act reasonably and to avoid choosing competing interests over that of its clients.
 9    Plaintiffs further alleges that Defendants breached their fiduciary duties to Plaintiffs
10    by participating in and facilitating improper and unlawful actions, or omissions as
11    alleged hereinabove.
12          43.     At all times relevant herein mentioned, Defendants failed to act loyally,
13    in good faith, in the best interests of Plaintiffs, and with such care as an ordinarily
14    prudent person in a like position would use under similar circumstances.
15          44.     Plaintiffs were harmed as a result.
16          45.     Defendants’ conduct was a substantial factor in causing Plaintiffs’ harm.
17                                 FOURTH CAUSE OF ACTION
18                             UNLAWFUL BUSINESS PRACTICES
                            (CAL. BUS. & PROF. CODE § 17200, et seq.)
19
                              (Against All Defendants; and DOES 1-100)
20          46.     Plaintiffs hereby incorporate by reference Paragraphs 1 through 45 of
21    this Complaint as though fully set forth herein and for a cause of action alleges as
22    follows:
23          47.     By the conduct described hereinabove, Defendants have engaged in an
24    unfair business act or practice in violation of Cal. Bus. & Prof. Code § 17200, et seq.
25          48.     Plaintiffs are informed and believe, and based thereon allege, that the
26    Defendants actions as pleaded herein constitute unfair and unlawful business
27    practices, and, as a result thereof, caused damages to Plaintiffs. Defendants’ conduct
28    was a substantial factor in causing Plaintiffs’ harm.

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                                      CLASS ACTION COMPLAINT
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 1
 2                                              PRAYER
 3          WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:
 4           1.     For compensatory damages, in an amount according to proof;
 5           2.     For consequential damages, in an amount according to proof;
 6           3.     For restitution of all wrongfully acquired amounts and disgorgement of
 7                  all ill-gotten profits, in an amount according to proof;
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             4.     For all statutory penalties authorized by law;
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             5.     For punitive and/or exemplary damages in an amount sufficient to
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                    punish Defendants for the wrongful conduct alleged herein and to deter
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                    such conduct in the future;
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             6.     For Plaintiffs’ reasonable attorneys’ fees and costs pursuant to all
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                    applicable provisions of law;
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             7.     For all costs of suit incurred herein;
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             8.     For prejudgment and post judgment interest at the maximum legal rate;
16
17                  and

18           9.     For such other relief as the Court may deem proper.
19
20    Dated: January 28, 2021                       PESSAH LAW GROUP, PC
21
22
23                                                   By: /s/ Maurice D. Pessah
                                                        Maurice D. Pessah
24
                                                        Michael Morris-Nussbaum
25                                                      Summer E. Benson
                                                        Attorneys for Plaintiffs
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                                                        and the Class
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 1                                                  CHELIN LAW FIRM
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 4                                                   By: /s/ Stuart N. Chelin
 5                                                      Stuart Chelin
                                                        Attorneys for Plaintiffs
 6                                                      and the Class
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 1                                   DEMAND FOR JURY TRIAL
 2          Plaintiffs hereby demand a trial by jury.
 3
 4
 5    Dated: January 29, 2021                       PESSAH LAW GROUP, PC
 6
 7
 8                                                   By: /s/ Maurice D. Pessah
 9                                                      Maurice D. Pessah
                                                        Michael Morris-Nussbaum
10                                                      Summer E. Benson
11                                                      Stuart Chelin
                                                        Attorneys for Plaintiffs
12
                                                        JOSH GOSSETT and
13                                                      JAMES LAPLANT
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